                  IN THE UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                                          )
                                                 )
 POINTCLEAR SOLUTIONS, INC.,                     ) CASE NO. 18-83286-CRJ11
 EIN: XX-XXX1564                                 ) CHAPTER 11
                                                 )
      Debtor.                                    )


                            MOTION TO CONTINUE HEARING

       COMES NOW Stuart M. Maples, as counsel for Debtor, and requests a continuance of the

hearing currently scheduled on June 3, 2019, and as grounds therefore states that counsel is

scheduled to undergo an unexpected medical procedure on the same day.

       WHEREFORE, premises considered, Stuart M. Maples, as counsel for Debtor, prays that

the hearing on this matter currently scheduled for June 3, 2019, be continued to the next available

docket and for such other and further relief as this Court deems just and proper.

       Respectfully submitted on May 31, 2019.

                                                             /s/ Stuart M. Maples
                                                             STUART M. MAPLES
                                                             (ABS-1974-S69S)

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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on May 31, 2019, a copy of the foregoing document was served on
the following by Electronic Case Filing a copy of the same.

Richard Blythe
Bankruptcy Administrator
richard_blythe@alnba.uscourts.gov

20 Largest Unsecured Creditors

All parties requesting notice

All parties on the matrix attached hereto

                                                           /s/ Stuart M. Maples
                                                           STUART M. MAPLES




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Label Matrix for local noticing                 Citizens Community Bank              FNB BANK
1126-8                                          c/o Jeffrey L. Cook                  1535 SOUTH BROAD STREET
Case 17-81562-CRJ12                             P, O. Box 5585                       SCOTTSBORO, AL 35768-2608
NORTHERN DISTRICT OF ALABAMA                    Huntsville, AL 35814-5585
Decatur
Fri May 31 12:14:49 CDT 2019
Farm and Freight, LLC                           First Jackson Bank                   Harris Farms, LLC
1306 Grace Street                               c/o James T. Baxter III, Esq.        2008 Gurley Pike
Huntsville, AL 35801-5727                       P.O. Box 165                         Gurley, AL 35748-9279
                                                Huntsville, AL 35804-0165


Helena chemical Company                         Madison County Cooperative, Inc.     Stephens Appraisal Services, LLC
c/o Frank E. Bankston, Jr.                      c/o Chad W. Ayres                    203 Eastside Square, Ste 2
P.O. Box 239                                    P. O. Box 2168                       Huntsville, AL 35801-8818
Montgomery, AL 36101-0239                       Huntsville, AL 35804-2168


Upfront Holding, LLC                            U. S. Bankruptcy Court               A. Mac Martinson
403 Andrew Jackson Way                          400 Well Street                      Martinson & Beason, PC
Huntsville, AL 35801-3631                       P. O. Box 2775                       115 North Side Sq.
                                                Decatur, AL 35602-2775               Huntsville, AL 35801-4822


AG Direct                                       AGCO Finance LLC                     AMERICAN EXPRESS BANK, FSB
PO Box 2409                                     PO Box 2000                          C/O BECKET AND LEE LLP
Omaha, NE 68103-2409                            Johnston, IA 50131-0020              PO BOX 3001
                                                                                     MALVERN PA 19355-0701


American Express                                CNH Industrial Capital Ameria, LLC   CNH Industrial Capital America LLC
PO Box 650448                                   P.O. Box 3600                        PO Box 3600, Lancaster, PA 17604-3600
Dallas, TX 75265-0448                           New Holland, PA 17604-3600



Capital One                                     Capital One                          Citizens Community Bank
PO Box 60599                                    PO Box 60599                         1418 Dinah Shore Blvd.
City of Industry, CA 91716-0599                 North Hollywood, CA 91616            Winchester, TN 37398-1112



Darrin K. Isbell                                FNB                                  FNB
1333 Salty Bottom jRd.                          206 South First Street               402 Broad St.
Madison, AL 35758                               Pulaski, TN 38478                    Scottsboro, AL 35768-1706



Farm Credit Services of America, PCA, servic    Frank Smith, Jr.                     Helena Chemical Company
c/o S. Dagnel Rowe, Wilmer & Lee, P.A.          903 Co. Rd. 421                      c/o Frank E. Bankstop, Jr., Esq.
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                                                                                     Montgomery, AL 36101-0239


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656 Honeycomb Rd.                               Centralized Insolvency Operations    6400 NW 86th St.
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                                                Philadelphia, PA 19101-7346          Johnston, IA 50131-6600

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John Deere Financial, f.s.b.                         Joyce White Vance                                    Kubota Credit Corporation
PO Box 6600                                          US Attorney General                                  PO Box 2046
Johnston, IA 50131-6600                              1801 4th Ave North                                   Grapevine, TX 76099-2046
                                                     Birmingham, AL 35203-2101


Kubota Credit Corporation                            Loretta Lynch US Attorney General                    Luther Strange
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Addison, Texas 75001-9013                            950 Pennsylvania Ave NW                              PO Box 300152
                                                     Washington, DC 20530-0009                            Montgomery, AL 36130-0152


Lynda Hall, Tax Collector of Madison CO, AL          Madison County Cooperative                           Madison County Cooperative, Inc.
100 Northside Square, Room 116                       PO Box 68                                            483 Jack Thomas Road
Huntsville, AL 35801-8815                            Hazel Green, AL 35750-0068                           Toney, AL 35773-8534



Mike Bean                                            Monsanto Company                                     PHI Financial Services, Inc.
5116 Colemont Lane                                   c/o Parnell & Parnell, P.A.                          PO Box 1000
Huntsville, AL 35811-1004                            P.O. Box 2189                                        Johnston, IA 50131-9411
                                                     Montgomery, AL 36102-2189


PHI Financial Services, Inc.                         State of Alabama                                     Tim McCarrell
c/o Parnell & Parnell, P.A.                          Department of Revenue Legal Division                 2511 Aberdeen Rd.
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Montgomery, AL 36102-2189                            Montgomery, AL 36132-0001


Douglas Richie Harris                                Richard M Blythe                                     Stuart M Maples
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Stuart M Maples                                      Tazewell Shepard
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Farm Credit Services of America, PCA, serv        (d)Farm and Freight, LLC                             (d)First Jackson Bank
c/o S. Dagnal Rowe‘, Wilmer & Lee,                   1306 Grace Street                                    c/o James T. Baxter III, Esq.
Huntsville                                           Huntsville, AL 35801-5727                            P.O. Box 165
                                                                                                          Huntsville, AL 35804-0165


(d)Upfront Holding, LLC                              (u)Darrin Isbell                                     End of Label Matrix
403 Andrew Jackson Way                                                                                    Mailable recipients    49
Huntsville, AL 35801-3631                                                                                 Bypassed recipients     5
                                                                                                          Total                  54

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